
Shaw, C. J.
The removal of a pauper, by the town of his settlement, within thirty days from the time of receiving legal notice, from the town relieving the pauper, that such support has been furnished, according to Rev. Sts. c. 46, § 15, is a strict condition precedent, which must be complied with, to exempt the town of his settlement from the payment of the actual cost of such support. Webster v. Uxbridge, 13 Met. 198.
The notice was received by the defendants on the 9th of March, and the removal was effected on the 8th of April. Whether the removal was in time turns on the controverted question, whether the day, on which the notice was to be received, is to be counted as one of the thirty. We consider *374it now well settled as a general rule, that when an act is to be done, within a given number of days from the date, or day of the date, or act done, the day of the date is excluded; otherwise, an act to be done in one day must be done on the same day; and as there is no fraction of a day, such stipulation must create an' obligation to do it instanter Among the numerous cases we shall cite only the two latest. Wiggin v. Peters, 1 Met. 127; Windsor v. China, 4 Greenl. 298.
According to this rule, notice having been received on the 9th of March, the 10th was the first of the term of thirty, and the 8th of April the last, including the whole of that day. Within such term of thirty days the removal was effected, and the condition of the statute complied with.

Judgment for the defendants.

